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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA

                                  CASE NO.: 3:21–CV-00779

ALEXANDR ROMANOV,
an Individual Petitioner,

                -vs.-

ANYA SOTO,
an Individual Respondent.

_________________________________/

                        SECOND AMENDED PRE-TRIAL STATEMENT

   1. Basis for the Court’s Jurisdiction:

        This Court has express jurisdiction of this cause pursuant to 22 U.S.C. §9001 et. seq.; and
28 U.S.C.1331 because this matter involves the wrongful retention of minor children who are
within the Court’s jurisdiction. Furthermore, the Court’s jurisdiction was otherwise stipulated in
open court and not otherwise contested by the parties.

   2. Concise Statement of Action:

       This action is for the return of the parties’ children to Canada under Convention on Civil
Aspects of International Child Abduction, Oct. 25, 1980, (“Hague Convention” hereinafter), and
22 U.S.C. §9001, et. seq., commonly known as the International Child Abduction Remedies Act
or “ICARA.”.

   3. Concise Statement of each party’s position:

        Petitioner alleges that the children were habitually resident in Ontario, Canada and were
retained in the United States by Respondent; (2) that said retention was wrongful in that it was a
violation of Petitioner’s custodial rights, which Petitioner had been exercising at the time; (3)
that the Convention was in force between Canada and the United States at the time of wrongful
retention; and (4) that the children are under the age of 16.

       Respondent raised several defenses through her answer. However, by admission of
facts herein below, Respondent recognizes that her primary defense is the children’s
objection to return. The other defenses raised by the Respondent’s answer technically are
not being abandoned but are unlikely to be established as a result of a lack of evidence and
admitted facts.

   4. List of Exhibit with a notation of each objection:
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   Exhibit    PETITIONER’S DESCRIPTION             OBJECTIONS   Specific Legal
   No.                                                             Basis for
                                                                   Objection
   1         Petition Exhibit “A,” Ontario Court
                                                       No
             Case filings composite
   2         Petition Exhibit “B,” Text message
             composite between Petitioner and
                                                       No
             Respondent regarding Florida spring
             visits
   3         Petition Exhibit “C,” Text message
             between Petitioner and Respondent
                                                       No
             regarding Florida winter visit

   4         Petition Exhibit “D,” Text message
             between Petitioner and Respondent
                                                       No
             regarding child support

   5         Petition Exhibit “E,” Text message
             between Petitioner and Respondent
             regarding holiday exchange of             No
             custody

   6         Petition Exhibit “F,” Text message
             between Petitioner and Respondent
             regarding exchange of custody in          No
             October 2020

   7         Petition Exhibit “G,” Text message
             between Petitioner and oldest child       No
             regarding trip to Florida
   8         Petition Exhibit “H,” Respondent’s
             May 2021 Text message exchange            No
             between oldest child and Petitioner
   9         Petition Exhibit “I,” Mr. Bookman’s
                                                       No
             Resume
   10        Petition Exhibit “J,” Children Law
                                                       No
             of Ontario excerpt
   11        All exhibits listed by Respondent
                                                       No
             that are ruled admissible
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     *Objections, if any, are unknown at this time.



Exhibit    RESPONDENT’S DESCRIPTION                                    OBJECTIONS    Specific Legal
No.                                                                                   Basis for
                                                                                       Objection
1          Parties Separation Agreement dated March 30, 2017
                                                                           No
2          “Case History Report” Anya Soto, Applicant, and Alexandr                  *Not otherwise
           Romanov, Respondent, Court File Number FS-20-201815-                       received by
                                                                           No
           000, Superior Court of Justice, Ontario Canada (“Canadian                    counsel
           Case” hereinafter)
3          Respondent’s "Form 8: Application (General)” signed by
                                                                           No
           Respondent December 8, 2020
4          Respondent’s "Form 8: Amended Application (General)”
                                                                           No
           dated May 25, , in Canadian Case
5          Respondent’s Form 14A Affidavit dated May 28, 2021, in
                                                                           No
           Canadian Case
6          Respondent’s Form 14A Affidavit dated June 4, 2021, in
                                                                           No
           Canadian Case
7          “Endorsement” dated June 30, 2021, in Canadian Case
                                                                           No
8          Undated text message exchange between Mr. Romanov                          Relevancy,
                                                                           Yes
           and V. Romanova                                                           Admissibility
9          September 26, 2020 text message exchange between                           Relevancy,
           Mr. Romanov and V. Romanov                                                Admissibility;
                                                                           Yes
                                                                                    *not received by
                                                                                        counsel
10         May 22, 2021 text message exchanges between Mr.                            Relevancy,
           Romanov and V. Romanov                                          Yes       Admissibility,
                                                                                        hearsay
11         June 21, 2021 text message exchange between Mr.                            Relevancy,
                                                                           Yes
           Romanov and V. Romanov                                                    Admissibility
12         Translated text message from September 26, 2020                            Relevancy,
                                                                           Yes
                                                                                     Admissibility
13         Translated message from September 26, 2020 (“when                          Relevancy,
                                                                           Yes
           V. Romanov was upset and crying”)                                         Admissibility
14         Affidavit of Support of Claim for Custody or Access
                                                                           No
           dated for February 8, 2021
15         Communication log                                                            Hearsay,
                                                                                       relevancy,
                                                                           Yes       admissibility,
                                                                                      foundation,
                                                                                      authenticity
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16    Proposal to change parenting arrangements and/or
                                                             No
      contact arrangements
17    Translated August 19, 2020 text message exchange       No
18    Translated September 5, 2020 text message exchange             Relevancy,
                                                             Yes
                                                                    Admissibility
19    Correspondence between the parties’ attorneys in                   All
      Canada                                                       correspondence
                                                                    has not been
      a. Letters from Jeff Rechtshaffen to Steven Bookman            received by
      dated                                                            counsel

      i. October 22, 2020;
      ii. October 27, 2020;
      iii. October 23, 2020;
      iv. October 28, 2020;
      v. November 25, 2020;
      vi. November 26, 2020;
      vii. January 4, 2021;
                                                             No
      viii. January 22, 2021;
      ix. February 16, 2021;
      x. April 14, 2021;
      xi. April 21, 2021;
      xii. April 27, 2021;
      xiii. May 6, 2021;
      xiv. May 26, 2021;
      xv. June 2, 2021;

      b. Emails dated:

      i. June 25, 2021;
      ii. July 29, 2021
20    Letter from Jeff Rechtshaffen to Steven Bookman
                                                             No
      dated January 4, 2021
21    Letter from Jeff Rechtshaffen to Steven Bookman
                                                             No
      dated January 22, 2021
22    Letter from Jeff Rechtshaffen to Steven Bookman              Not received by
                                                             No
      dated May 26, 2021                                              Counsel
23    Letter from Jeff Rechtshaffen to Steven Bookman              Not received by
                                                             No
      dated June 2, 2021                                              Counsel
24    Email from Jeff Rechtshaffen to Steven Bookman               Not received by
                                                             No
      dated July 29, 2021                                             Counsel
25    Justice Papageorgiou Endorsement dated June 30, 2021   Yes     Relevancy

26    Email dated June 3, 2021 from PC Michelle Tasse’ of
                                                             No
      the Toronto Police Service
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 27        Letter dated November 26, 2020 from Jeff
                                                                            No
           Rechtshaffen
 28        Notes prepared by Anya Soto                                                  Hearsay,
                                                                            Yes        Relevancy,
                                                                                      Admissibility
 29        Copies of children’s passports                             Yes           Not received by
                                                                                    counsel
 30        Children’s passport applications and photos                Yes           Not received by
                                                                                    counsel
 31        All exhibits listed by Petitioner                          No

            *Petitioner generally objects to relevancy and admissibility

         5. List of Witnesses by name only:

        PETITIONER’S               LIKELIHOOD THE WITNESS             OBJECTIONS      Specific Legal
      WITNESSES NAMES                    WILL TESTIFY                                    Basis for
                                                                                         Objection
 ALEXANDR ROMANOV                             HIGH                           No
  STEVEN M. BOOKMAN                           HIGH                           No
   OXANA KISELMAN                          REBUTTAL                          No
                                         ONLY/UNKNOWN
  NIKOLAY ROMANOV                          REBUTTAL                          No
                                         ONLY/UNKNOWN
  LYUBOV ROMANOVA                          REBUTTAL                          No
                                         ONLY/UNKNOWN



RESPONDENT’S WITNESSES               LIKELIHOOD THE                OBJECTIONS      Specific Legal
       NAMES                       WITNESS WILL TESTIFY                             Basis for Objection
 Anya Soto, Respondent                    HIGH                             No
       Lili Soto                          HIGH                             No
     V. Romanov                           HIGH                             No
     M. Romanov                            LOW                             YES        Location, Age,
                                                                                        Maturity
       Jeff Rechtshaffen                       HIGH                        No
      Filiberto Sotolongo                      HIGH                        YES          Relevancy

         6. List of Each Expert Witnesses:
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               1. STEVEN M. BOOKMAN
               2. JEFF RECHTSHAFFEN.

   7. A breakdown of the type and amount of Monetary damages:

               None.

   8. List of each deposition offered in lieu of live testimony:

               None.

   9. A concise statement of each admitted fact:

(Respondent’s admissions of fact necessary for Petitioner to establish a prima facie case
under the pending cause of action are conditional in that the Petitioner must personally
appear before the Court on the days of trial.)

          a.   Petitioner is the father of the children.
          b.   Respondent is the mother of the children.
          c.   The minor children are both under the age of sixteen (16).
          d.   The parties were married on January 15, 2008, separated in 2017, and were
               formally divorced in 2019.
          e.   The Respondent and the children do not live in Florida.
          f.   On May 22, 2008, V.A.R. was born into the marriage, and on August 25, 2012,
               M.A.R. was born into the marriage.
          g.   The parties entered into a separation agreement in March of 2017 and of which
               was fully executed on April 7, 2017 as attached to the Petition as Exhibit “D.”
          h.   The parties and the minor children are Canadian citizens.
          i.   The parties’ children continuously resided in Canada, except for temporary
               absences until March 10, 2020. On or about March 10, 2020 the children traveled
               with the Respondent and her spouse to Jacksonville, Florida and returned to
               Canada on May 5, 2020. The children then resided in Canada until their departure
               on or about December 13, 2021 when they again traveled to Jacksonville, Florida
               with the Respondent and her spouse. The children remained in Jacksonville until
               August 21, 2021. After that they traveled to and remained in the general vicinity
               of San Diego, California, which includes a number of municipalities or suburbs,
               such as Carlsbad.
          j.   The minor children are currently living with Respondent in Carlsbad, California.
          k.   The children have been in the United States for approximately eleven (11)
               months, nine (9) months in Florida and two (2) months in California from today’s
               date.

   10. A concise statement of each agreed principle of law:

          a. The Petition initiating this action (the “Petition”) is brought pursuant to the
             Convention on the Civil Aspects of International Child Abduction, done at The
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                    Hague on October 25, 19801 (hereinafter the “Convention” or “Treaty”) and 22
                    U.S.C. §9001 et. seq.
               b.   Canada ratified the Convention on February 6, 1983.
               c.   The Convention went into effect in the United States of America on July 1, 1988,
                    and thereby was ratified between the United States of America and Canada.
               d.   The objects of the Convention are:
                         i. Article 1 (a): To secure the prompt return of children wrongfully retained
                            or removed in any Contracting State; and
                        ii. Article 1 (b): To ensure that rights of custody and of access under the law
                            of one Contracting State are effectively respected in the other Contracting
                            States.
               e.   Venue is proper in this Court pursuant to 28 U.S.C. §1391 (b); 22 U.S.C. 9001.
               f.   The Central Authority is charged under the Treaty to communicate with, and
                    transmit their request to, the United States Department of State for urgent
                    assistance in the prompt location and recovery of the minor children.

      11. A concise statement of each issue of fact without incorporating another paper:

                    See Response to number nine (9) above.

      12. A concise statement of each issue of law without incorporating another paper:

                    See Response to number ten (10) above.

      13. A list of each pending motion or other unresolved issue:

                    None.

      14. A statement of the usefulness of further settlement discussions:

                    The parties are highly unlikely to reach any settlement.




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1
    TIAS, No.11670 at 1,22514 U.N.T.S. at 98 represented in 51 Fed.Reg. 10,493 (1986).
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(Continuation of Seconded Amended Pre-Trial Statement)

"In preparing this final pretrial statement, I have aimed for the just, speedy, and inexpensive
resolution of this action."

Dated this 8th day of November, 2021.

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/S/ Francis M. Boyer
________________________
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